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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF TEXAS
DALLAS DIVISION

Civil Action No. 3~06cv2322-N
BLANCA VALENZUELA, MARGIE SALAZAR, JOSE A. SERRATO,
JOSIE RENDON, CLARA TOVAR, CONSUELO ESPINO, MARIA
AVILA, ERNESTINA NAVARRETTE, MARIA E. MUNOZ, AMANDA
SALCIDO, CANDELARIO G. ORTEGA, MARIA ORTIZ, JOSE
OLIVA, RAFAELA CHAVEZ, ELODIA ARROYO, SUSANA CARDIEL,
GRACIE RIOS and LEONEL RUIZ, individually and on
behalf of all others similarly situated,
Plaintiffs,

Vv.
SWIFT BEEF COMPANY, INC., d/b/a SWIFT COMPANY, SWIFT &

COMPANY, HICKS, MUSE, TATE & FURST, INC., HM CAPITAL
PARTNERS OF DALLAS, LLC and JOHN DOES I-V,

Defendants.

DEPOSITION OF: DOUGLAS W. SCHULT - April 8, 2008

PURSUANT TO AGREEMENT, the deposition of
DOUGLAS W. SCHULT was taken on behalf of the Plaintiffs at
1770 Promontory Circle, Greeley, Colorado 80634, on
April 8, 2008, at 9:05 a.m., before Barbara Birger,

Registered Merit Reporter, Certified Realtime Reporter and

Notary Public within Colorado.

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For the Plaintiffs:

For the Defendant:

Swift Beef

Company,

Inc.

APPEARANCES

ERIC D. PEARSON, ESQ.

Heygood, Orr, Reyes, Pearson &
Bartolomei

2331 West Northwest Highway

2nd Floor

Dallas, Texas 75220

ROBERT E. YOULE, ESQ.
Sherman & Howard
633 17th Street, Suite 3000

Denver, Colorado 80202

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WHEREUPON, the following proceedings were taken
Pursuant to the Federal Rules of Civil Procedure.
* * * * *
MR. PEARSON: This is Eric Pearson,
counsel for the plaintiffs, and I've been informed by
counsel for the defendants that they are objecting to
the presence of a videographer because we did not

notice these as video depositions.

It's our position that these depositions
were taken by agreement without the necessity of any
notice whatsoever, and that it's improper to insist
that a notice of a video deposition was necessary when
these were taken by agreement and no notice of any

kind was sent and no insistence was made that a notice

had to be sent.

But in order to move forward with the
depositions, I've instructed the videographer pack up
her things, and we will take these stenographically
without a videotape. That's it.

MR. YOULE: That's fine.

DOUGLAS W. SCHULT,
having been first duly sworn to state the whole truth,

testified as follows:

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EXAMINATION

BY MR. PEARSON:

Q. Would you state your full name for the

record.
A. Douglas W. Schult.

Q. My name is Eric Pearson, I represent the

.plaintiffs in this case, and we're here taking your

deposition today.

Have you had your deposition. taken

before?
A. Yes, I have.

(QO. So you generally know the ground rules
and procedures that are followed ina deposition?

A. Yes.

Q. Obviously the court reporter to your left
is taking down everything that you and I say. In
order to make her job easier, I need to ask you to
answer out loud to all my questions and avoid using
phrases like uh-uh or uh-huh. If you would do that
for me, I would appreciate that. Can we agree on it?

A. Okay.

Q. If you don't understand my question, will
you tell me and I'll try to rephrase.

A. I will.

Q. If you need a break, I'll be happy to

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accommodate.
A. Okay.
Q. Your written deposition testimony will be

printed up in a booklet form, and you'll have an
opportunity to review that and make any corrections to
ensure that it's accurate; do you understand that?

A. Yes.

Q. And you understand that the testimony
you're giving here today has the same force and effect
as if you were testifying in front of a judge and
jury; do you understand that?

A. Yes.

Q. Who is your current employer, Mr. Schult?

A. JBS Swift & Company.

Q. And is that a Brazilian company?

A. “The parent is owned -- is the
Brazilian-based company.

Q. That's JBS?

A. Yes. I don't know the exact title of the

company, but it's JBS.

Q. How long have you been with JBS Swift in

one form or another?
A. Since June of 2000.

Q. And what position did you start at in

June of 2000?

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A.

Basically the same position I'm in today.

It's titled differently. Back at that point it was

vice-president of field operations for human

resources.
Q.

superior?
A.
Q.

A.

And as of today, who's your direct

Jack Shandley.
What is his title?

Senior vice-president of HR, human

resources and administration.

Q.

And how many people, if any, report

Girectly to you?

A.
reports, and
Q.

A.

three.

resources.

Q.

Right now I have, let's see, three direct
then several indirect reports.
Who are the direct reports?

James Hamilton.

‘Okay.

And Ruben Flores.

Is there one other? I thought you said

‘Just the two.

What is Mr. Hamilton's position?

He heads up our compliance for human

What about Ruben Flores?

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A. He heads up our college recruiting and
relations, as well as he just recently took over the
corporate staffing function and handles some community
relations activities.

Q. Mr. Hamilton and Mr. Flores, do they

office here in this building?
A. Yes.
Q. And who does Mr. Shandley report to?
A. Wesley Bastista, CEO.

Q. Mr. Shandley, does he office in this

J

. building
A. Yes.
Q. And where does Mr. Bastista office?
A. This building.
Q. I'm going to ask you to turn to
Exhibit 13, which is a series of letters discussing
the topics on which we were seeking a corporate
representative to testify. And if you look, I just
want to walk through and verify the ones I believe
you've been designated on based on communications from
your lawyer and make sure we're on the same page here.
If you turn to the second page of
Exhibit 13,-looking at topics 4, 5, and 6, are those
topics on which you have been designated to testify as

a corporate representative of Swift in this

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litigation?

MR. YOULE: Objection to form for lack of

foundation. You can answer.

A. Yes.
Q. (BY MR. PEARSON) And what about topic
No. 9?
MR. YOULE: Same objection. You can
answer.
A. Yes.
Q. (BY MR. PEARSON) And the next page,

topics 12 through 15, are those topics on which you
have been designated to testify as a corporate
representative of Swift in this litigation?
MR. YOULE: Same objection, you can
answer. 12 through?
. MR. PEARSON: 15.

A. Yes.

Q. (BY MR. PEARSON) And lastly, topic
No. 21, same question?

A. Yes.

Q. Which of the production -- are all of
Swift's production facilities, other than the Hyrum,
Utah, facility, unionized?

A. The production facilities, yes. We have

some distribution centers, relatively small -- I'm

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trying to think offhand -- one in Grand Island. The

Denver SDC -- Swift distribution center.

Q. The processing facility is in Grand
Island?

A. That's correct.

Q. Is the primary union at all the

production facilities that have a union the United
Food and Commercial Workers Union?

A. That's the primary one, not the only

one.

Q. Are the majority of the employees at
those unionized processing plants members of that

particular union?

A. They are represented by that particular

union. I don't know what the membership is, the more

technical term.

Q. Very well. And is it true that you

personally have been involved in negotiating every

‘labor agreement involving those Swift production

facilities since the year 2000?

A. That's correct.

Q. In what capacity have you been involved
in negotiating those labor agreements?

A. Various capacities. I've taken the lead

in coordinating the internal development of the

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internal strategy and so forth within the
organization. Depending upon the contract, I may or
may not be the chief spokesperson at the table.

Q. In the various capacities in which you
have acted in negotiating labor agreements for the
Swift production facilities, you have been acting on
behalf of Swift corporate; is that correct?

MR. YOULE: Objection to form. What do
you mean when you say "Swift corporate"?

Q. (BY MR. PEARSON) The interests of the

company overall as opposed to the interests of a

particular plant?

A. I guess I'm not sure how to answer your
question. There's interest, obviously, to the company
overall, but there's local interest as well, local

issues that would be more important to the plant than

to necessarily corporate.

Q. And as between the interests of the plant
and the interests of corporate, which of those
interests are you representing?

A. Both.

Q. And if there's a conflict between those

interests, which are you representing?

A. I'll resolve the conflict internally

through the corporation.

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Q. And how is that done?

A. I'll take it back through the senior
management team.

Q. Who is on that senior management team?

A. It can start anywhere from the CEO to the
CFO to the COO. It's going to depend upon what the

issue is and which contract it is.

Q. I want to walk through just sort of the
process from beginning to end in general terms, then
we'll go back in and talk more specifically. Let's

say hypothetically a contract -- let me back up for a

minute.

Explain what a collective bargaining
agreement is, if you would.
A. It's an agreement -- it's a formal
agreement reached between labor and management that

dictate the hour -- or wages, hours, and working

‘conditions for the employees who are represented by

that union.

Q. And are the collective bargaining
agreements, which I'll call CBAs, are those plant
specific or union-wide or are there both sometimes?

A. What do you mean “union-wide"?

Q. Well, is there one CBA for each plant?

A. Yes.

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Q. Are there any agreements between Swift
and the United Food and Commercial Workers Union that
apply to more than one Swift facility?

A. No.

Q. And let's kind of walk through how the
process works. Let's say hypothetically the contract
under which the Cactus facility is operating is
expiring. First of all, let me ask you: How far in
advance of the expiration of an ongoing CBA does Swift
normally start the process of negotiating a new CBA?

A. Oh, internally we'll start, say, ten
weeks in front. Typically as far as actual meeting at
the table with the union and company representatives
at the formal table negotiations, probably six to
seven weeks before expiration.

Q. Let's start with what happens ten weeks
before when you start the process internally. What
does that entail?

A. What we do is we'll get with the plant
management team, ask them to begin the process of
reviewing what changes they would like to see in the
collective bargaining agreements, whether it's
language, changes, and so forth. They will focus
primarily on language, and then any local issues that

have come up over the last collective bargaining

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agreement. We will then in turn at. a corporate level
begin to do the same thing, but also look at the

economics.

Q. When you say "look at the economics," can
you describe what that means?

A. Look at the wage rates, look at the
benefits, and do comparisons on those wages and
benefits.

Q. Comparisons between what and what?

A. It's going to depend upon which contract
it is. If it's a beef contract, we'll look at our
beef plants, but we'll also look heavily at the
industry and review what recent settlements have been
made in the beef industry. So we're looking probably
at the industry overall at that point and comparing
wage rates and then again, as I said, looking at
recent settlements in unionized facilities.

Q. And that term "settlements," that
obviously has a different meaning than in a legal
context. Can you explain what that means by "recent
settlements"?

A. Well, contracts that have been negotiated
and ratified by our competitors and different labor

unions. And the settlements being, what did they

settle for? What wage rates? What was the terms?

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What, if any, benefit changes occurred inside that

agreement?

Q. Is Oscar Arriaga corporate, or is he at
one of the plants?

A. He's at the Cactus plant.

Q. And Eric Ray?

A. Eric was -- he's been at three plants for

-us, so he's still out at a plant location, currently

in Greeley, Colorado.

—Q. So who at the plant -- you mentioned
earlier about the internal discussions as part of the
collective bargaining process that you get together
with the plant management team. What positions
normally would be involved in that from the plant?

A. The primary ones are going to be the
general manager, the HR director, some limited
involvement from the-.controller. We may ask them to.
get involved in helping us cost some issues out. And
then the operations managers of the facility, the
local people will get feedback from them on, again,
issues or items that they would like to see changed in
the labor agreement.

Q. We're going to look at it here ina
moment, but in one of the documents that's been >

produced it mentioned someone with the title benefits

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as being involved in these discussions as well. Is

that normally someone from corporate or at one of the

plants?
A. It would be corporate.
‘Q. And what is their function?
A. On the benefits side it's going to be --

when I refer to benefits, it's going to be health
care. They will get involved in making
recommendations as to what the plan design should look
like, what contributions for health care should look
like. There is another side to benefits, and that's
on the retirement plans, but that's rarely -- I mean,
it's not something that changes very often contract to
contract.

Q. And in these internal discussions that go
on before the collective bargaining process begins, is
it corporate that's normally dictating the economic
terms of the proposed agreement with the particular
plant?

MR. YOULE: © Objection to form. Go ahead
and answer if you understand the question.

A. Corporate will approve -- corporate is
going to drive the primary wage -- the primary
direction on wages and on the major benefits. They

will approve all of the economics. On a local level

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there are some minor economic issues, or what I would
consider more minor, that the general manager and his
operations team has some latitude over. But in the
grand scheme of costing out a labor agreement, that's
going to be a fairly minor piece of it.

Q. (BY MR. PEARSON) And when you say that
there's some minor economic issues that the local
plant managers may have some more input on, what types
of issues would those be?

A. Just a couple of examples, premium pay
for certain jobs where we pay additional amounts over
our base rates for certain jobs, they may want to
upgrade a job, so the economics of that. They may
make a decision to provide certain equipment to
certain jobs. That's not something that necessarily

corporate is going to get involved in, that's a local

decision.

Q. But as far as setting the wage rates,
that is a decision that's driven by corporate; is that
correct?

A. Correct.

Q. Now these internal discussions that occur

that you start about ten weeks before the CBA is

expiring, how are they -- do they result in any kind

- of a plan or a written proposal, or what is the

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outcome of those internal meetings?

A. What I've done -- and I'm trying to think
how far this goes back ~- but I think almost all the
way back to the first contract since I've been here is
we'll do the background, the benchmarking, the
costing, and put together a formal recommendation for
senior management to look at and to ultimately
approve, and that is a written document.

Q. And who in senior management would have.
the final approval on that?

A. Again, it's going to depend upon which
contract it is specifically, if it's a beef contract
ora pork contract. And it's going to depend upon
what time frame we're talking about because people in
the organization changed over that time frame.

Q. Let's assume it's beef. And rather than
go in with names, give me just titles or positions of
the people that would be involved in that approval
process.

A. Okay. Let me go back to prior to JBS
because, frankly, right now we haven't had a major one
come up since JBS has been involved. But prior to
that it would be the COO and the senior vice-president
of human resources administration, the vice-president

of operations. That's really those three.

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—Q. And how often do those folks get
involved -- I mean, is it typical that they would look
at that proposal and say, Look, we're not happy with
those wage rates, we need to discuss them or is it a
rubber stamp or how does that normally play out?

A. Again, it's going to depend upon the
contract and what the circumstances were, what the
proposal was. It's not a rubber stamp. ‘There's give
and take. We're talking not just economics, we're
talking strategy, we're talking length of contract.
And so depending upon which contract it was, it could
have sent us back and said, We need to do more work on
the benefits, we need more information on wages or any
number of things.

Q. Going back to the corporate level and
these discussions internally on the wage rates, who at
the corporate level would be involved specifically in
talking about hourly wage rates in these collective
bargaining agreements?

A. Well, myself and those four -- those
three individuals. At one time there was another
individual that was involved -- more involved than
what we would do today, and he worked on my staff.

Q. Who was that?

A. Tony Harris.

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Q. Then when you said in those three
individuals, you were talking about the coo, the

senior VP for HR and admin, and vice-president of

operations?
A. Correct.
Q. Would those three folks be involved in

the initial discussions that result in any proposal,
or would they just become involved after you had come
up with the proposed wage rates and they would look at
it and pass judgment on it?

A. My approach was to put a straw man, if
you will, put a proposal in front of them and then
we'll beat it up from there.

Q. When was Mr. Harris involved? During

what time frame?

A. I'll get close, but:-- I'll get close,
but I'm not sure exactly.

Q. The best you can.

A. Late 2000 to 2006.

Q. And what was his title?

A. Regional director of human resources.

Q. Why did his involvement cease? Did he
leave the company or change positions?

A. Changed positions.

Q. Has he been replaced in that capacity?

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A. We eliminated the position.

Q. So during the time frame from 2000 to
2006 when wage rates were being determined within
Swift corporate, it was you and Tony Harris that were
responsible for making a proposal to senior
Management, which would be the COO, the senior
vice-president for human resources and administration,

and the vice-president for operations: is that

accurate?

MR. YOULE: Objection to form. We're
talking generally here as opposed to a particular

contract, I assume?

MR. PEARSON: I think the question just

.speaks for itself.

MR. YOULE: Objection to form.

Q. (BY MR. PEARSON) Is that the process
that went on for all the contracts, or did some of
them deviate from that process?

A. There may have been some deviation to
that. That would be the standard -- the more typical
process it would go through.

Q. Can you think of any examples?

A. I would have to go back through each one

of the contracts and think about it.

Q. Is there any reason why one contract

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would deviate from that where somebody other than you
or Mr. Harris would be looking at the wage rates and
making those decisions?

A. Not as far as gathering the background
information on the wage rates and things like that.
It would have been Tony or myself. There may have
been one other individual, his name is Tim Hill, and
he also had the title of regional director of HR, and
Tim may have been involved in one or two contracts as
far as gathering the background data.

Q. Now obviously, as you just mentioned, one
part of that process in determining the wage rates
that you would then send to senior management to look
at would be gathering background data, right? That's
what you just testified to?

A. Yes.

Q. Then after that data was gathered who, as
between you, Mr. Harris, and Mr. Hill, if he was
involved, who would determine, based on this data,
here is what we're proposing for the wage rates of
this particular plan? Would that be you?

A. As far as what would go into the final
proposal to senior management?

Q. Yes, sir.

A. Yes, that would be me.

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Q. The other folks, Tony Harris and then
maybe Tim Hill on a few occasions, they were simply
gathering the background information for you to look
at and then make a determination as to what you
thought the appropriate wage rates were to go into the

proposal to senior management?

A. We would work together on it and develop
proposals together, but ultimately I was the one that
made the decision as to what went in and what didn't

to senior management.

Q. Now you mentioned when I asked earlier

about the process, you said maybe ten weeks before the

CBA was expiring you would meet internally, and then

maybe six to seven weeks before it was expiring you
would meet at the table. I want to talk now about
that process at the table. First of all, what does
that phrase mean to you?

A. To me that's the formal negotiations with
the union, the company's committee, and the union's
bargaining committee. It is the formal face-to-face
negotiation of the collective bargaining agreement.

Q. Does that normally take place in the
local city where the plant is or does it take place

here in Greeley or how does that work?

A. It's just going to be in the local city

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or some town close to that. It won't be here in

Greeley unless it's the Greeley contract.

Q. And what goes on? Just describe for me

in general terms that process at the table, how that

works?

A. You start out with noneconomic issues, at

least that's the company's approach. Sometimes the

union will give a full proposal, and by that I mean

-economics and noneconomic items. The company -- our

process is to only give noneconomic proposals to start
with.

Typically the first day is relatively
short, it's an exchange of written proposals. After
the first day you begin to take each proposal, company
and union, and work through them. Work through all
the noneconomics first, and then maybe some
noneconomics get carried over into the economic
issues, but then focus on the economic issues.

There are minutes taken by each side, not
people from the outside, they are part of the
committees -- various committees. Sometimes we'll
break down into subcommittees, if there isa
particular issue that's going to take too much time at
the main table with the full bargaining committees,

and ask them to address items away from the table and

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then bring it back to the table.

You go through sessions where you're at
the table negotiating face-to-face. You have caucus
sessions where you go back and discuss amongst
yourselves the dialogue that occurred at the table and
what we're going to talk about at the next session
when we go in, and it just goes back and forth like
that until you reach agreement .

Q. And so there's two groups, a company
group and then a union representative group; is that
right?

A. That's right.

Q. Let's go ahead and look at -- let me
offer Exhibit 3. Actually, let me back up to
Exhibit 1, if we could, which are some interrogatory

numbers in this lawsuit. If you look at interrogatory

‘No. 7 on page 10. The interrogatory was, "For every

one of the labor contracts, please identify the name
of each individual who participated in the
negotiations for such on behalf of management and

briefly describe the role they played."

And the answer is, "Individuals who
participated on behalf of Swift in the negotiations of
the labor contracts are set forth on the attached

Exhibit F, which has been supplemented from its

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previous disclosure."

Did I read that portion of that

correctly?
A. Yes.
Q. If you'll turn to Exhibit 3 where we were

a minute ago, it's labeled Supplemental Exhibit F,
paren, Supplemental Answer to Interrogatory No. 7. I
just want to verify, is this a chart of the people
involved on behalf of Swift in the negotiation of the
various collective bargaining agreements with the

production facilities?

A. Yeah, as best we could put it together.

Q. So, for example, looking at the first
page at the Cactus plant, the December 2005 to
December 2010 contract, that shows you and Mr. Harris
involved, and it lists your position as labor

relations, correct?

A. Our function at the table is labor
relations, yeah. The column is titled Position, but
we were saying this is the role they play because I
think that was the question in the interrogatory.

Q. And what do you mean by that term, the

role we played was labor relations? What does that

mean in general terms?

A. Our role was to take the lead in the

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contract negotiations and deal directly with the
union.

Q. And in those at-the-table negotiations,
who normally takes the lead? Let's say from among
this group here in the 2005 to 2010 contract, who

would take the lead on behalf of Swift in negotiating

that particular CBA?

A. At the table it would either be Tony or

myself, depending upon the agreement.

Q. Do you remember on that particular

agreement who it was?

A. It was split. Tony took the lead to
start with, and then he got sick, and so I had to come
in and finish it up.

Q. Was it typical that in the negotiations
of these various collective bargaining agreements that
someone with the position title here of labor

relations would be the one taking the lead at the

table?

A. Yes, he would be the chief spokesperson.

Q. And when the issue of wages came up,
assuming it did at the table negotiations, who would
be the point person from Swift on those wage issues?

MR. YOULE: Are you talking about this

particular contract, or more generally?

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MR. PEARSON: More generally.

A. The labor relations lead.

Q. (BY MR. PEARSON) Would there be anybody
else who would have input on wages at these
at-the-table negotiations from the Swift side other
than the person with the position on Exhibit 3 listed
as labor relations?

A. To some degree the general manager.

Q. And when you say “to some degree," kind
of give me a feel for what that is.

A. The ultimate decision of what was going
to be paid or not paid was going to be made by senior
management, not the people sitting at the table.

Q. But from among the people sitting at the
table, who had the ultimate authority?

A. The chief spokesperson, labor, based on
what senior management approved.

Q. So let's look at another one of these.

Let's look at the 2001 to 2005 Cactus contract. At

' the table would you have been the person who had the

ultimate authority on wages?

A. Yes.

Q. And now when you say with the approval of
management, I want to make sure I understand that.

Was it a situation where you would go into these

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negotiations with a certain range that had been
approved by management, or would you actually have to
consult with senior management during the negotiation
process to get approval?

A. We would go in with a range that had been
preapproved, and that would include more than just the
money, it would include the term and things like that.
Probably in 80 to 90 percent of the cases there would
be dialogue with senior management towards the end on
the final settlement.

Q. And would that normally just be done over
the phone or would you have to come back for a meeting
or how would that work?

A. Both.

Q. Would there be a -- was there a formal
approval process, any kind of documents that were
checked off on by senior management, or was it verbal?

A. Verbal.

Q. Were any notes or minutes of those
meetings taken?

A. No.

Q. How often was it that you had to get
authorization from senior management to deviate from
the preapproved range you had been given? Was that

typical or atypical that would happen?

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A. I would say it's fairly typical.

Q. And let's look at one of these -- well,
in general terms, this. Exhibit 3 talks about who was
at the table from Swift. Not giving me names but
positions, let's say with the Cactus contract 2005 to
2010, who would be at the table for the union? Again
not names but positions.

A. In Cactus' case, the president of the
local would be present, not at all the sessions. I
would say 25 percent of the time. When he was
present, he would be the chief spokesperson. -When he
wasn't, it would be handed off to the business
representative that serviced the plant -- Cactus plant
for that local. They would also have what is called a
walking steward would be part of the committee.

Q. Walking steward?

A. Yes. It's a full-time steward.

Q. Tell me what that term -- I know what
that term means in a restaurant.

A. They walk around the plant, that's how
they get the terminology. Literally, they walk around
the plant, so they call it a walking steward.

Q. But they are a union employee rather than

a Swift employee?

A. They are a union-appointed employee

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that's paid for by the company as part of the

collective bargaining agreement.

Q. Who else would be involved, if any?

A. They would have bargaining

representatives from the plant. They go through a

nomination and an election process, and depending upon

the local, it will dictate how many other committee
members there are. In some cases there will be a
representative from the international union present.
I would say probably two-thirds of the time there is
an international representative present at the table
for some portion of the negotiation.

Q. And from your interaction and
communications with the various union participants at
these at-the-table sessions, do you have an

understanding as to whether the international union

gives some type of preapproval similar to the way that

the senior management at Swift gives to you prior to
the time they arrive at the table?

A. No.

Q. You know that doesn't happen, or you

don't know either way or

A. I don't know that that happens.
Q. You don't know one way or the other?
A. I know that the international has

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‘dialogue with the local unions on these major

contracts. I don't know to what extent that dialogue
occurs or to what extent they set preapproved limits

with them.

Q. So you've never had somebody from the
local say, hey, I'm going to have to go to the

international or that, or

A. Sure, on certain issues.
Q. What types of issues?
A. Contract term as far as the length of the

contract. Let me think. It could be a safety issue,

something to deal with a safety committee. It could

be a language issue.

An example was we were negotiating the
language on nondiscrimination and language that
referenced that if an employee filed a grievance and
that grievance was still pending and then turned
around and filed a grievance with an agency as in the
EEOC or state agency or something like that, that the
grievance would be withdrawn without precedent. That
is an example of language that they said had to go to
the international because they were concerned about
the impact that language would have not only in that
contract but all the contracts around the country.

QO. From your interaction with the union

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representatives at the table and these negotiations,
did you have a sense for who was involved from the

union side in determining wage rates at a particular

plant?

MR. YOULE: Objection to form. Are we on
Cactus or general?
MR. PEARSON: General terms.

A. . Go ahead and repeat the question again.

Q. (BY MR. PEARSON) Not talking about
Cactus in specific, but in general terms when you were
at the table with these union representatives, what --
who normally took the lead on wage issues for the
union? Again not name, but title or position.

A. It would be the -- it appeared to me --
or it appears to me that it's the president of the
local typically, and there is varying degrees of
involvement by the international or somebody from the
international.

Q. On the occasions when you were at the
table and there was someone from the local and someone
from the international present and wage issues were
being discussed, would one of those normally take the
lead or did it vary or

A. I think it depends upon what -- I think

it depends upon how significant the wage issue was.

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If the settlement parameters were within whatever they
determined collectively is acceptable terms, the local
was there, there was probably less involvement by the
international. On the other hand, if the local's
ideas of settlement weren't within those parameters,
there was a lot more influence exerted.

Q. Can you think of a specific example that

sort of illustrates that?

A. Sure. The first -- well, the 2000 -- you

were referencing Cactus, I can reference other

contracts, but the 2001-2005 contract in Cactus, the

international representatives were not at the table,
but we were getting close to being deadlocked on
wages, and I called the international union and told
them that I felt that the local's proposed wage
settlement was not realistic. At that point the
international got more involved.

Q. And that obviously got settled?

A. Yes, for your country. Greeley,
Colorado, the last contract we negotiated in Greeley,
Colorado. So that's the operating engineers.

Q. Greeley beef?

A. 2004 to 2009 is the date that that
contract expires. The Local 7 is based out of Denver.

The president of the local was the chief spokesperson.

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We had a staff representative from the international
union at the table, but it wasn't until the regional
vice-president came to the table that we had a
settlement.

In other cases, for example like
Louisville, Kentucky, I believe that the international
knows what's going on at the table, but that local
seemed to be a lot more in tune with wage rates, and
they didn't need as much oversight from the
international. It's really going to depend upon the
local, it's going to depend upon what the local's view

of wage structures are and what ours are.

Take Marshalltown, Iowa. Marshalltown,
Iowa, there has always been an international rep sit
through the entire negotiations. Worthington,
Minnesota, relatively small local, new president, they
have. always had a national rep take the chief
spokesperson's position since I've been involved. So
varying degrees.

Q. Has it been your observation that the

international union has some interest in having some

consistency in wage rates among the various Swift

processing plants?

A. It's been my observation that the

international is focused more on all the meat

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processing settlements, not just Swift to Swift or
Tyson to Tyson, but collectively as an industry where
these settlements are coming out.

Q. Other than -- who are the big players in
the meat processing industry besides Swift and Tyson?
Are there others that are significant?

A. Cargill Meat Solutions, Smithville Foods.
And under Smithville there's John Morrell, Farmland
Foods. Kind of an umbrella. There are -- let's see,
National Beef. Those would be the big ones. Then
there's some that are -- they are not as big, but
Seaboard Farms, the Austin -- Quality Pork, they have
influence on more kind of a regional level, if you
will. We all compete globally, but from a contract
standpoint maybe more on a regional level.

Q. Following up on my last’ question. From
your observations, is the international union for the

United Food and Commercial Workers Union -- strike

that.

Is the international of the United Food
and Commercial Workers Union, from your observation,
interested in maintaining some consistency in wage
rates among the various major beef processing plants

in the United States?

A. I think that -- yes, they are interested

PagelD 1932

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in trying to make sure that there's some consistency
so that they don't have, you know, breakaways on their
hands. I would say it seems to me to be more focused
on the wage settlement than the wage rates.

Q. And I'm not sure I appreciate that
distinction. Could you explain that to me?

A. Yeah. If you look at the industry and
how it pays its employees, there's really only three
elements or three tiers, start rate, base rate, and
then premium pay. The primary focus for most
everybody is the base rate. That's the minimum that I
can pay somebody after X amount of time.

So when you say, you know, the industry
wages, that's going to be -- that will be the
indicator -- or the key indicator of wages in the
industry and then, therefore, in individual plants.
But the base wage in some of these facilities can be
substantially different from one plant to another one,
or one company to another one.

This is just my view, it seems to me that
the international, once that's occurred, isn't so much
focused on that deviation as much as what the future
settlements for that location is going to be. So iff
they have got a plant or facility that's, for whatever

reason, substantially behind the rest of the industry,

PagelD 1933

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they have not exercised the force of taking that plant
out on strike to close that gap as much as it appears
to be focused on what the future settlement is. If

the settlement is within a range for the industry, it

‘seems like they get contracts.

Q. So is it fair to say the method by which
the unions attempt to obtain consistency is by
negotiating on upcoming collective bargaining
agreements versus trying to in the midst of a contract
change the pay; is that what you are saying?

A. No, that's not what I'm saying.

Q. I'm not following.

A. I'm not going to change the pay in the
midst of the contract.

Q. When you say they seemed more focused on
future settlements than wages, can you explain that to
me again?

A. Let me explain it by giving you an
example. Seaboard Farms is a contract that is
substantially below most of the industry in the pork
industry. When I say “below," it's the base rate, yet
they have negotiated several contracts and it remains

below the industry.

So to me, when I look at that and try to

rationalize that, I'm the international union, which

PagelD 1934

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PagelD 1935

I'm not, but looking at it and saying, how do you

‘Yationalize that? The only way you can rationalize it

is by the settlement as they come up for that
contract. Are the settlements within the, quote,
norms for the industry. Otherwise I don't know how

you rationalize that if you're the union.

Q. Maybe I don't. understand the settlements.
I thought settlements simply meant the terms of a new
collective bargaining agreement. Is that not what

that means?

A. When I talk about settlements now, I'm
focused about wages because that's where your

questions have been.

Q. Explain to me what that term means as far

as wages. You are talking about settlements.

A. The increases to the employees wage
rates.

Q. As reflected in a new collective
bargaining agreement?

A. Right.

Q. But taking the Seaboard as an example, if

they are consistently negotiating new wage settlements
and collective bargaining agreements that are still
behind the industry, I guess I'm not understanding how

that makes sense to you when you are saying you are

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trying to figure out how it makes sense or how you can
rationalize it. I guess I'm not following there.

A. . I said the only way I can rationalize
that if I'm in the union's position, which I'm not,
but as an interested observer trying to figure out how
does that go on, how do they, the international union,
allow that to go on? The only way I can rationalize
it is that while they are behind the industry, but the
wage settlements they are getting are consistent with
the new increases -- maybe that's the difference, is
that the new wage increases are consistent or slightly
above the industry settlements on new wage increases.

Q. So does that mean they are not closing
the gap but they are staying about the same behind, is
that what you are saying?

A. It's going to depend upon the contract
that's under water. But, yeah, they are going to
consistently be behind.

Q. For example, if the average increase is
50 cents an hour, if Seaboard is getting a
50-cent-an-hour increase, then they accept that even
though that still keeps them behind the industry
average?

A. Again, that's my observation because they

get new contracts doing it that way, so somebody is

PagelD 1936

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accepting it.

Q. When you talked about the different three
tiers, you talked about the start rate and the base
rate. Explain to me how the start rate and the base
rate differ.

A. The start rate will be the minimum that
somebody comes in right off the street and begins to
work at.’ In.most of these labor agreements there's a
progression -- a wage progression, so it's already
laid out and says you will start at X and you will get
a wage increase in these intervals until you reach the
base rate. Those intervals can be anywhere from
probably as low as ~-- I think it's 90 days to as long
as 18 to 24 months.

So it's setting a floor when you first
walk in, and then it sets another floor after I've
been there X period of time, this is the minimum I can

make.

Q. And is it the base rate that's typically
the one that's focused on most?

A. Yes.

Q. And once you reach the base rate, that's
still a floor? That's still a minimum?

A. Yes.

Q. And you can get more than that?

PagelD 1937
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A. Yes.
Q. So if we look -- for example, let's look
at Exhibit 7 -- let me back up for a second. Let's

tie this into the interrogatory. The interrogatories
are Exhibit 1. Interrogatory No. 4 on page 8, the
interrogatory was, "For each of the Swift facilities
please provide the starting wage for each category of
hourly worker by job title for each month from June 1,

2006, to June 30, 2007."

Then after some objections the answer
was, “Responsive information is set forth in
Exhibit E," which I put in here. If you'll flip to
tab 7, you'll see it's labeled Exhibit E, response to
interrogatory No. 4. I want to talk about that for a
minute.

So is it fair to say that these are the
wage rates during the requested time frame for the
various Swift facilities and the various positions at

those facilities?

A. Without reviewing this entire document, I
don't know because I didn't prepare it.

Q. Assume with me that's what this is.
Let's talk a little bit about it. These different
brackets, are those job positions, or what does that

mean? Like bracket 11, bracket 12?

PagelD 1938
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A. I'm sorry, where are you at?

Q. Page 1, under the title Job Description,

it gives the bracket numbers.

A. Okay.
Q. Are those just different positions?
A. You know, I got to tell you, I don't

know, because I don't know how they have this laid

out.

Q. Let's look down about midway through on
this first page, there's a heading for base; do you
see that?

A. Correct.

Q. And then it lists the effective date, the
employee grade is 000, then it lists a minimum wage
rate of $11 and a maximum wage rate of 11.80. And
that's for the Marshalltown plant, correct, that's
what this says?

A. Right.

Q. I want to talk for a moment -- explain,
if you would, this minimum versus maximum wage rate
and how that's reflected, if it is, in the collective
bargaining agreements?

A. I don't know what they are calling -- I
don't know how they have set this up on the minimum

wage rate and the maximum wage rate. I can tell you

PagelD 1939

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what I think it is.

Q. Okay.
A. The minimum wage rate in this appears to
me to be the start rate -- what I would call the start

rate because it's $11 an hour. And at this point in
time the effective date, being October 16, 2006, I
believe that was the start rate.

The maximum wage to me appears to be the
base rate. I would not have used that terminology if
I put this together, I would have used base rate or
wage rate because maximum means something different to
me.

Q. Okay. Let's find another example to see
if this is -- is the one plant in particular that you
are more familiar with than the other, or pretty much
all of them?

A. That's fine.

Q. Let's flip to page 3, and about --
there's a base rate about 6 or 7 lines down, base rate
for Swift FP, Greeley. Those are the same numbers,
that's bizarre. Let's go down about two-thirds of the
way down, there is the 129, 2007 Grand Island base
rate on page 3.

A. Correct. I got it.

Q. Was that the effective date of the most

PagelD 1940

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recent CBA for Grand Island?

A. Yeah, I think it is.

Q. And you see those rates of 11 -- again,
it lists 11.75 and 11.75, that's bizarre. Does that

make any sense to you for Grand Island?

A. Yes.
Q. And can you explain that to me?
A. The decision was made -- in almost every

one of these collective bargaining agreements, when

‘ you negotiate the start rate, it is a minim -- it's

a minimum rate of pay, as I talked before, it's a
floor -- but I need to word that differently. ,

We reach agreement with the union that
these are the minimums that we'll pay on the start
rate and the minimum progression structure, how long
it takes me to get to base. But the way we word it in
the collective bargaining agreements is so we can
increase those, if we. so chose, without going to the
union and renegotiating it. All we need to do is
notify them.

Q. So -- go ahead.
A. So the reason this makes sense to me is
that in October of '06 we took the start rate and

Matched it with the base rate.

Q. For Grand Island, or-for all your

PagelD 1941

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facilities?

A. For Grand Island, for Greeley, for
Cactus, for Worthington. And then in Marshalltown --
Marshalltown was one contract. I think it was the
only one that we didn't have the minimum start rate
and minimum progression language, so we actually had
to sit down and negotiate with them. We did not
increase it in Louisville, Santa Fe Springs, at the
lamb plant, or the distribution centers.

Q. So make sure I understand, in the
collective bargaining agreement there would be a

minimum start rate for various positions; is that

right?

A. And start rate for the plant, period.

Q. Okay. It wouldn't be position by
position?

A. No, not when we're referring to the start
rate.

Q. What about these minimum progression

structures, would that be position by position, or

plant-wide?
A. Plant-wide.

Q. And what about the base rates, would

those be --

A. Plant-wide, we have some plants where

PagelD 1942

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there's a different base rate for first processing or

the slaughter side, and second processing or the

fabrication side.

Q. So I thought I had seen in some different
documents that there's some significant differences in
wage rates within the plant depending on what a
particular worker is doing; isn't that true?

A. That's correct.

Q. And how, if at all, is that reflected in
the collective bargaining agreement?

A. By what I call premium pay or grade pay.

Q. Okay. So the premium pay is the -- is

where you deviate position by position?

A. That's correct.
Q. And are those also minimums?
A. In those cases they are going to be set.

It is the rate of pay for that job.

Q. So what -- I guess I'm trying to figure
out, let's say the Cactus plant, what percentage of
jobs are tied into the start and base rates, and what
percentage are tied into the premium pay? Is it the
vast majority of workers are on the minimum start and
base and a small number are on premium pay, or do you

have a feel for that?

A. Keep in mind that the start is just -- 1°

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mean, that's the beginning. I know I'm going to at
least get to the base rate irrespective of what job
I'm doing is a matter of time and qualification. You
know, I would -- this is a guess because I guess I
haven't really lodked at it this way, but I would say
that two-thirds of the jobs, or maybe a little bit
more than that, pay some rate above base, so they are
paying some grade or some premium.

Q. Okay. And those are set, that's not
something that there is a progression or that's just a
set hourly wage?

A. It's a set rate.

Q. And it doesn't change based on longevity
er how long you're in that position?

A. Not in any of our unionized facilities,
no.

Q. And other than I think you mentioned
there was one plant at Marshalltown where you couldn't
increase the pay, you had to go back and renegotiate.

Was that Marshalltown?

A. That's my -- yeah, it was Marshalltown.
But I believe that was the only one that we didn't
have the minimum start and progression language in, so
we actually had to negotiate a different start rate.

Q. Which I'm assuming they gladly

PagelD 1944

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negotiated?

A. I don't know that it was gladly, but they

negotiated it.

Q. Is there some reason they wouldn't want
their employees to get a raise?

A. It only applies to the new people and not
the people that are currently working there.

Q. Let's talk for a couple minutes about how
contracts --° how the wages are set at the Hyrum, Utah,
facility. Among the processing plants, if I'm not
mistaken, that's the only one that's not unionized?

A. Of the major processing plants, that's
correct.

Q. Walk me through in general terms how
wages are set at that plant. Obviously there is not a
collective bargaining agreement in place, or how does
that work?

A. As far as going back internally how the
process works and so forth just like we did on the
others?

Q. Sure. That's fine.

A. It's primarily the same way as the other
plants, even though there is no union there. They
have some differences in how they pay people. For

example, there, longevity does make a difference on

PagelD 1945

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the jobs. They go through an annual -- what we call
an annual review process, so we're looking at the wage
and benefit structure and policies on an annual basis

rather than the collective bargaining agreements being

‘anywhere from three- to five-year terms.

Q. So wages in the Hyrum, Utah, plant are

set annually?
A. Yes.

Q. So is it a situation where there is no
negotiation, Swift just decides what it's going to
pay?

A. There is no bargaining representative for
the work force, so we have the -- we go through
primarily the same process we would go through
internally, make a recommendation, then implement the
changes, announce the changes for the employees.

QO. Have there been any attempts to unionize

that plant?

A. Not in my history here.

Q. So since 2000 there have not been?

A. No.

Q. Are wage rates at the Hyrum, Utah, plant

generally lower than the unionized plants?
A. When you factor in their longevity pay

and their -- and their rate structure, they are very

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close to the unionized facilities. If you look only
at the base and don't factor that in, which would be a
mistake, then they would appear to be further behind.
Q. When the internal ~- going back to the
unionized plants, I guess let's talk about all the
plants. During these internal discussions that lead
up to a proposal being made to senior management, are
there any specific or unique factors at a particular

plant that influence your proposal?

A. Well, what I was talking about before, to
me it's a little bit of a funnel almost, it's going to

depend upon which species is up for negotiations, is

it the beef plant or pork plant because there are

differences by industry.

Q. Can I interrupt for a quick second there.
Among the processing facilities, I know there's
Greeley beef and Greeley lamb, right?

A. Correct.

Q. Of the others, Cactus, Worthington,
Marshalltown, Hyrum, Louisville, and Grand Island, are
those all beef, or are some of those pork?

A. Some of those are pork.

Q. Which of those are pork?

A. Marshalltown, Worthington, Louisville.

Q. Sorry for interrupting you. You were

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saying there was a difference between beef and pork?

A. Right. So depending upon which species
is being reviewed or up for negotiations, we'll look
at the wage rates and the wage settlements specific to
that industry, so that's how we start. Then we'll
look at, is there -- if we look at kind of national
settlements, we'll look at what kind of settlements
have occurred more regionally.

Again, we.all compete globally, but
regionally is there a competitor within that region.
For example, in Worthington, Minnesota, there's two
major competitors within -- I think within 45 minutes
to an hour of the plant, which means we're competing

with them for raw materials, and to some extent for

the work force. So we will look and say, okay, what

are they paying and have the recent settlements been
at those regional kind of competitors.

Q. Anything else?

A. Let me go back and ask you what your
original question was again.

Q. Sure. Whether there are any unique or
specific factors that you are looking at on a

plant-by-plant basis?

A. The reason I went down that road is to

the extent there is a regional settlement that's

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occurred in a Sioux Falls Morrell plant or a plant --
two plants that we watch in Cactus or the Friona and
Plainview Cargill Meat Solutions plants, those can
have influence on the contracts that were -- on the

contract we're negotiating. So my example, Cactus and

Worthington.

Every once in a while you'll get into
some unique situations with a given facility, its
competitiveness and the cost structure of that given

facility. But one example that is not in this group

here but we had a plant one time in Nampa, Idaho, that

is a very small plant, and it was not competitive, we
actually ended up doing two one-year contracts there
with very little wage increases because of that. So

that uniqueness came into play in that particular

case.
Lamb plant, when we negotiate that
contract, it's again a totally separate industry, so
we're looking at the cost structure of that industry.
Q. As among the beef and pork processing
plants, are there any unique factors that come to mind

between those plants other than looking at regional

settlements?
A. Within our --
Q. That go into your formulation of your

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proposals on this collective bargaining agreement.

MR. YOULE: Objection, form. Do you mean
differences between beef on the one hand and pork on
the other, or collectively?

MR. PEARSON: Yeah, that was a bad
question. Let me try again.

Q. (BY MR. PEARSON) Let's back up. You
mentioned there is a difference between beef and pork.

Could you just explain that? I mean, I know what beef

and pork are.

A. .One has short legs, one has long legs?

Well, for example, if you look at our plants, our pork

Plants pay probably, just when you are looking at the

base rate, 60 cents more an hour on average than our

‘beef plants do.

Q. Why is that?
A. Part of it is the history of those
industries because they are different. It's red meat,

but they are different industries. They compete

differently.

Q. Let me give you an example that may be
helpful to get my question out better. Let's say as
between -- let's say the Grand Island beef facility
and the Cactus beef facility, when you are sitting

down to set wage rates that you are going to put in

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your proposal to senior management, are there any
unique factors that apply to Cactus or Grand Island
that might result in different proposals on the wage
rates of those plants?

MR. YOULE: You mean other than what he's
already explained, or do you want him to go back?

MR. PEARSON: I guess whatever his

response is to that question.

MR. YOULE: Objection to form, asked and

answered, but go ahead.
A. What comes to my mind is what's happening:

in that regional market with our competitors. Again,
I referenced in Cactus' case the Friona and Plainview
plant. There is also a plant in Texas that's a
Teamsters plant that's a Tyson plant. Those are all
major competitors. We will watch very, very closely
what happens there.

When we go to Grand Island, we are not

looking at Friona and Plainview, we're looking at

Lexington, Nebraska, which is a Tyson plant about

40 miles down the road. We are looking at Tyson in
Dakota City, Nebraska, and we're looking at Cargill
Meat Solutions in Skyland Nebraska. So if there is
something different and unique in how they are paying

people or what their settlements have been or what

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their wage rates are, that's what we'll be more.
typical to react to.

QO. (BY MR. PEARSON) But because the same
union is involved in, again, my example, both Grand
Island and Cactus -- well, strike that.

These wage rates are public information,
is that true, or are they not public?

A. They are fairly public. You can get the

information.

Q. So if you paid $5 more an hour at Cactus
than Grand Island, the people at Grand Island would

know about it?

A. I. don't know whether the people of Grand
Island know about it. I think the union would know
about it.

Q. Right. And you mentioned that you're
certainly -- while you do look at the regional
competitors, you are competing nationally as well, not
just regionally for these workers; is that true?

A. When I talk about competing regionally
and nationally, I'm talking about from a competitive

cost structure standpoint.

Q.. As far as wage rates for your workers,

the level of competition is nationwide or

MR. YOULE: Objection to form.

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Q. (BY MR. PEARSON) I guess what I'm
getting at, isn't it true that many of these workers
in the beef industry are fairly transient and they
will go to where the best jobs and the best pay is?

A. There is a certain portion of the
employees in the industry that appear to be fairly
mobile and will move from area to area. I'm sure
wages and benefits have some impact on that.

Q. And because of that, it's important for
Swift to maintain some consistency in wage rates among
its various processing plants, correct?

MR. YOULE: Objection to form.

Q. (BY MR. PEARSON) You can answer unless
he tells you not to.

MR. YOULE: Go ahead, yes.

A. My answer would be that's not what's
going to drive it. You got the wrong driver.

Q. (BY MR. PEARSON) Why is that?

A. Because it's the cost structure that's
going to drive the decision. It's the economics of
running the plant that's going to drive the decision.
When we sit down and look at the wages and the
benefits, what's driving it for the most part isn't
can we get or can't we get a work force, it's what the

economic impact of giving a 50 cent increase over a 30

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cent increase and what is that going to do if the
economics are the same between us and Tyson, what does
that do to us relative to our competition because the
Margins are so thin in this business.

When I sit down with the COO and so forth
and discuss this, that's what we cost out. What's
this going to cost me today versus where I'm going to
be four or five years from now with your proposal.

Q. So what is driving the wages is the
economic impact overall vis-a-vis your competitors?

A. Correct. That's the primary driver. And
we would be foolish to say we're not going to give any
wage increase. First off, we wouldn't get a contract
that way. Secondly, at some point in time we would
fall far enough behind it would affect our ability to
attract workers.

Q. So when you say the primary factor
driving wages is the economic impact in relation to
your competitors, can you expand on that a little bit?
Are you basically saying, well, you know, if we paid
this much at this plant it would do this to our
profits and, therefore, we would be less competitive
or cost structure would go -- I mean, what do you mean

by that?

A. Next to the raw material, labor is our

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